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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN


SENTRY INSURANCE A MUTUAL COMPANY,
                        Intervener Plaintiff,                     Case No. lO-cv-168-wmc
       V.

REGAL WARE, INC.,
                         Defendant.


                                           JUDGMENT


        This action came for consideration before the court, District Judge William M. Conley
presiding. The issues have been considered and a decision has been rendered.
        IT IS ORDERED AND ADJUDGED that judgment is entered dismissing the complaint
for restitution by intervener plaintiff Sentry Insurance A Mutual Company without prejudice for
lack of jurisdiction.




                                                                         Date
